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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 20-0699V
                                         UNPUBLISHED


    KILEY LOGAN,                                               Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: October 8, 2021

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU);
    HUMAN SERVICES,                                            Ruling on Entitlement; Prior Findings
                                                               of Fact; Concession; Table Injury;
                        Respondent.                            Influenza (Flu); Shoulder Injury
                                                               Related to Vaccine Administration
                                                               (SIRVA).

Zachary Hermsen, Whitfield & Eddy Law, Des Moines, IA, for Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.

                                     RULING ON ENTITLEMENT1

       On June 9, 2020, Kiley Logan filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the “Vaccine
Act”). Petitioner alleged that she suffered a right shoulder injury related to vaccine
administration (“SIRVA”) as a result of the influenza (“flu”) vaccine administered on
November 7, 2019. Petition at 1-2. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

       On October 7, 2021, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
(ECF No. 38) at 1. Specifically, Respondent concludes that Petitioner’s claim meets the
Table criteria for SIRVA. Id. at 5-6 (citing 42 C.F.R. §§ 100.3(a), (c)(10)).

1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioners have 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




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